





















Opinion issued June 17, 2010.

&nbsp;


 
 
  
  
  
  
  
  
  
  
  
  
  
  
 
 
 

 


&nbsp;

&nbsp;

&nbsp;

&nbsp;

In The

Court of
Appeals

For The

First District
of Texas

————————————

NO. 01-10-00114-CV

———————————

RAQUEL
TERRIE JACKSON, Appellant

V.

BERNADETTE MITCHELL, Appellee



&nbsp;



&nbsp;

On Appeal from the 308th District Court 

Harris County, Texas



Trial Court Case No. 2009-33256

&nbsp;



MEMORANDUM OPINION

Appellant has filed an unopposed motion to dismiss
the appeal.&nbsp; No opinion has issued.&nbsp; Accordingly, we grant the motion and we dismiss the appeal.&nbsp; Tex. R. App. P.
42.1(a)(1).

We overrule all other pending motions as moot.&nbsp; We direct the Clerk to issue mandate within
10 days of the date of this opinion.&nbsp; Tex. R. App. P. 18.1.

PER CURIAM

Panel
consists of Justices Keyes, Hanks, and Higley.





